                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


T&M INVENTIONS, LLC,

                      Plaintiff,

       v.                                                   Case No. 14-CV-947

ACUITY BRANDS LIGHTING, INC. et al.,

                      Defendants.


                                            ORDER


       On June 15, 2016, Plaintiff, T&M Inventions, LLC, filed a Motion for Attorneys’ Fees and

Nontaxable Costs. This motion has been fully briefed. Having reviewed the parties’ briefs, the

Court hereby requests the parties submit supplemental briefing on the following issue:

       Is Acuity’s liability for actual attorneys’ fees and costs dependent upon its own
       knowledge and conduct or can Acuity, as a successor-in-interest to the ‘944 Patent,
       be liable for Jerome Blomberg’s misconduct?

Parties should submit simultaneous briefs on the issue on or before August 25, 2016.

       SO ORDERED this 5th          day of August, 2016.

                                            s/ William C. Griesbach
                                            William C. Griesbach, Chief Judge
                                            United States District Court




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